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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 MICHAEL DEMERY,                              )
                                              )
                Plaintiff,                    )
                                              )
 vs.                                          )      No. 3:18-cv-01419-NJR-MAB
                                              )
 ANDY TRAN and WEST BELLEVILLE                )
 NAIL SPA,                                    )
                                              )
                Defendants.                   )


                             JOINT STIPULATION FOR DISMISSAL

         It is hereby stipulated and agreed by and between Plaintiff Michael Demery and the sole

 remaining Defendant, West Belleville Nail Spa, that all of Plaintiff’s claims are hereby dismissed

 with prejudice at each party’s own costs.


       PRATT & TOBIN, P.C.                                EVANS & DIXON, L.L.C.



 By: s/Benjamin P. Tobin                             By: s/Brian R. Shank
     Gregory M. Tobin - #06192096                        Brian R. Shank (admitted pro hac vice)
     Benjamin P. Tobin - #06302081                       David C. Berwin - #06281639
     Route 111 at Airline Drive                          211 North Broadway, Suite 2500
     P. O. Box 179                                       St. Louis, MO 63102
     East Alton, IL 62024                                Telephone: (314) 621-7755
     Telephone: (618) 259-8011                           Facsimile: (314) 632-3136
                 (800) 851-5562                          bshank@evans-dixon.com
     Facsimile: (618) 259-6793                           dberwin@evans-dixon.com
     ptpc1@sbcglobal.net                                 Attorneys for Defendant
     pratttobin@sbcglobal.net
     Attorneys for Plaintiff
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                                   CERTIFICATE OF SERVICE

         I hereby certify that a copy of this document was filed electronically with the Clerk of the
 Court to be served on all parties of record by operation of the Court’s electronic filing system on this
 12th day of June, 2019.

                                 Mr. Brian R. Shank
                                 Mr. David C. Berwin
                                 EVANS & DIXON, L.L.C.
                                 211 North Broadway, Suite 2500
                                 St. Louis, MO 63102



                                                         s/Benjamin P. Tobin
                                                         BENJAMIN P. TOBIN




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